               UNITED STATES DISTRICT COURT FOR THE
                WESTERN DISTRICT OF NORTH CAROLINA
                       STATESVILLE DIVISION
                            5:06CV49-V-1
                           (5:98CR282-V)


DADRIAN KEITH ROMAN,          )
                              )
     Petitioner,              )
                              )
          v.                  )              O R D E R
                              )
UNITED STATES OF AMERICA,     )
                              )
     Respondent.              )
______________________________)


     THIS MATTER is before the Court upon Petitioner’s “Motion to

Vacate, Set Aside, or Correct Sentence,” filed January 20, 2006.

     On April 1, 1999, Petitioner pled guilty to one count of

conspiracy to possess with intent to distribute, and distribute,

quantities of cocaine and cocaine base.        On August 30, 2001, this

Court sentenced Petitioner to 240 months imprisonment.           Petitioner

appealed his sentence and, on June 5, 2002, the United States Court

of Appeals for the Fourth Circuit, in an unpublished opinion,

affirmed the sentence as imposed.

     On January 20, 2006, Petitioner filed a motion challenging the

sentence imposed by this Court, stating that the Judgment was void

and that this Court had no authority to sign the Judgment.             After

reviewing Petitioner’s motion this Court concluded that it was most

properly construed as a motion to vacate, set aside, or correct

sentence. In accordance with United States v. Emmanuel, 288 F. 3d



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644 (4th Cir. 2002), this Court notified Petitioner that he had

until March 10, 2006, to notify the Court as to whether he wanted

his   current   filing   to    be   construed        as   a    motion   to   vacate.

Petitioner was informed that his failure to notify the Court as to

his intentions would result in his filing being treated as a motion

to vacate. In that same Order the Court noted that in all likeli-

hood any motion to vacate filed by Petitioner was untimely but

provided him with an opportunity to explain why his petition was

not untimely.       Hill v. Braxton, 277 F.3d 701, 706 (4th Cir.

2002)(requiring     notice     to   pro       se   Defendant    prior   to   summary

dismissal of untimely 28 U.S.C. §2254 petition).

      Since the Court’s February 3, 2006, Order, Petitioner has

filed     a February 15, 2006, motion,1 a February 24, 2006, motion,2

and a March 3, 2006, motion. The only motion which is even remotely

responsive to the Court’s February 3, 2006, Order is his March 3,

2006, motion.3 Nowhere in his March 3, 2006, filing does Petitioner

object to his filing being construed as a motion to vacate so the

Court will treat it as such.

      1
      After observing that Petitioner’s February 15, 2006, motion
was the exact same motion as his January 20, 2006, motion, this
Court denied that motion in its April 11, 2006, Order.
          2
         This Court’s April 11, 2006, order denied Petitioner’s
February 24, 2006, motion.
      3
       In his March 3, 2006, motion, Petitioner argues that he has
not filed a successive 2255 motion because he is raising claims
that did not exist for earlier claims. Petitioner has not filed
any previous 2255 motions and therefore his current motion is not
successive.

                                          2



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     As the Court stated in its earlier Order Petitioner’s motion

to vacate appears to be untimely.          That is, Petitioner’s criminal

case became final on or about September 26, 2002.                      See Clay v.

United States, 537 U.S. 522 (2003)(federal criminal conviction

becomes   final   when    time   for   filing    petition        for    certiorari

contesting appellate court’s affirmation of conviction expires).

Because Petitioner did not file the instant § 2255 motion until

over three years later on January 10, 2006, his § 2255 motion is

untimely.

     Although Petitioner’s response is far from clear, it appears

that Petitioner is arguing that his § 2255 motion is not untimely

because he is actually innocent of the crime of Possession of a

Firearm During and in Relation to Drug Trafficking.                    A review of

Petitioner’s criminal case reveals that he was not convicted of a

§ 924(c) violation.      He did, however, receive a two level enhance-

ment for possession of firearms. The United States Court of Appeals

for the Fourth Circuit, however, affirmed this Court’s application

of the two level enhancement for possession of firearms.                     Peti-

tioner cites no retroactive authority that would give this                   Court

the authority to overrule the Fourth Circuit.               Consequently, for

the reasons set forth in the Court’s February 3, 2006, Order, and

above, this Court concludes that Petitioner’s Motion to Vacate is

untimely.




                                       3



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     NOW, THEREFORE, IT IS HEREBY ORDERED that Petitioner’s Motion

to Vacate, Set Aside, or Correct Sentence is DISMISSED as untimely.



                                    Signed: May 31, 2006




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